Case No. 1:20-cr-00305-DDD           Document 136        filed 06/23/21    USDC Colorado        pg 1
                                              of 1


                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO



     UNITED STATES OF AMERICA
                                                                          20-CR-00305-DDD
                                     Plaintiff,
                                                                 NOTICE OF APPEARANCE
                                v.


     MICHAEL AARON TEW,
     KIMBERLEY ANN TEW, and
     JONATHAN K. YIOULOS

                                     Defendants.




        NOTICE OF APPEARANCE OF MICHAEL HASSARD AS ATTORNEY FOR
                              DEFENDANTS

        To the Clerk of the Court and all parties of record:

        Please take notice that the undersigned attorney is admitted to practice in this Court and

 is retained as counsel for Defendants MICHAEL AARON TEW and KIMBERLEY ANN

 TEW.

 Dated: June 23, 2021
                                                       Respectfully submitted,

                                                       /s/ Michael Hassard

                                                       Michael Hassard
                                                       (NYS Bar No. 5824768)
                                                       Tor Ekeland Law, PLLC

                                                       30 Wall Street
                                                       8th Floor
                                                       New York, NY
                                                       10005

                                                       (718) 737 - 7264
                                                       michael@torekeland.com
                                                   1
